        Case 1:20-cv-00915-JRS-MJD Document 3 Filed 03/22/20 Page 1 of 1 PageID #: 12
AO 458 (Rev. 06/09) Appearance of Counsel


                                         UNITED STATES DISTRICT COURT
                                                          for the
                                                Southern District of Indiana


KYLE NEUMANN                                                     )
                             Plaintiff                           )
                                v.                               )    Case No.

CITY OF MUNCIE POLICE DEPARTMENT

And
OFFICERS JON HENDERSON and
MAVERICK RASTAKHIZ

                           Defendant                             )

                                            APPEARANCE OF MARK R. McKINNEY

To:      The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        Kyle Neumann                                                                                                   .


Date: 03/20/2020                                                      /s/ Mark R. McKinney
                                                                                             Attorney’s signature

                                                                     Mark R. McKinney #16125-18
                                                                                      Printed name and bar number



                                                                     201 North High Street
                                                                     Muncie, Indiana 47305
                                                                                                   Address

                                                                     mark@mandmlegal.com
                                                                                               E-mail address

                                                                     765-896-8964
                                                                                             Telephone number

                                                                     765-896-9298
                                                                                                FAX number
